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United States District Court

Southern District of Georgia

Phillip Jack
— Case No. 1:23-cv-74-IRH-BKE
Plaintiff
Ys (arn ott Tohnewn etal. Appearing on behalf of :
Plaintiff
Defendant (Plaintiff/Defendant)

APPLICATION FOR ADMISSION PRO HAC VICE

Petitioner, Jake Knanishu hereby requests permission to appear pro hac vice in the subject
case filed in the Augusta Division of the United States District Court for the Southern District of Georgia.
Petitioner states under the penalty of perjury that (he/she) is a member in good standing of the Bar of the United States
Court, Middle District of Georgia . Petitioner states further that (he/she) is eligible for admission under
Local Rule 83.4 and that (he/she) does not reside or maintain an office for the practice of law in the Southern District of
Georgia.

Petitioner designates Zachary Panter as local counsel. His/her business address is provided below in
the Consent of Designated Local Counsel.

Petitioner further certifies that (s)he has read, is familiar with, and will comply with the Local Rules of the Southern
District of Georgia.

This 7th day of August , 2023. f) ij
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(Signature of Petitioner)

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CONSENT OF DESIGNATED LOCAL COUNSEL

L Zachary Panter , designated local counsel for the subject case, agree to readily communicate with
opposing counsel and the Court regarding the conduct of this case and accept papers when served and recognize my
responsibility and full authority to act for and on behalf of the client in all proceedings related to this case, including hearings,
pretrial conferences and trials, should the Petitioner fail to respond to any Court order for appearance or otherwise.

This / day of fare Ad- , ars.

822012 lakh. diab
Georgia Bar Number f Signature of Local Counsel
678-271-0300 Radford & Keebaugh, LLC (Law Firm)
Business Telephone 315 W Ponce de Leon Ave (Business Address)
Decatur, GA 30030 (City, State, Zip)

(Mailing Address)
zachary(@decaturlegal.com (Email Address)

